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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

GEORGIA STATE CONFERENCE OF
THE NAACP, as an organization;
LAVELLE LEMON, MARLON REID,
LAURETHA CELESTE SIMS,                       Civil Action
PATRICIA SMITH, COLEY TYSON,                 File No. _________________

              Plaintiffs,                      COMPLAINT FOR
                                               INJUNCTIVE AND
v.                                             DECLARATORY RELIEF

THE STATE OF GEORGIA; and                         (Fourteenth and Fifteenth
BRIAN KEMP, in his official capacity as        Amendments to the United States
Secretary of State for the State of             Constitution; 42 U.S.C. § 1983;
Georgia,                                        52 U.S.C. §§ 10301 and 10302)

              Defendants.




                                 INTRODUCTION

         1.   This is an action to enjoin the State of Georgia and its Secretary of

State from enforcing Act No. 251 (2015 Ga. L. 1413) (“H.B. 566”), insofar as it

redistricts Georgia House of Representatives Districts 105 and 111. This

redistricting of Districts 105 and 111 is a racial gerrymander, enacted for the

purpose of electing and protecting white Republican incumbents. H.B. 566

therefore violates the United States Constitution and Section 2 of the Voting

Rights Act of 1965, 52 U.S.C. § 10301.


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         2.   H.B. 566 was enacted with a racially discriminatory purpose in

violation of the Fourteenth Amendment and Section 2 of the Voting Rights Act

because the Act’s proponents used race as a method to redraw House Districts 105

and 111 so as to prevent African-American voters from having an equal

opportunity to elect a candidate of choice.

         3.   H.B. 566 is a racial gerrymander that violates the Fourteenth and

Fifteenth Amendments because racial concerns predominated with respect to the

drawing of the District 105 and 111 boundary lines.

         4.   H.B. 566 is a partisan gerrymander that invidiously and improperly

distorts the political process in violation of the Fourteenth Amendment.

         5.   Voting patterns in Districts 105 and 111 are racially polarized.

These polarized voting patterns are highly correlated with support for Georgia’s

two major political parties. Georgia’s African-American voters overwhelmingly

favor candidates from the Democratic Party, and the state’s white voters

overwhelmingly favor candidates from the Republican Party.

         6.   Over the course of this census cycle, Districts 105 and 111

experienced an influx of minority voters and increased minority voter

participation. This resulted in African-American Democratic candidates nearly

defeating better-funded white Republican incumbents in those districts.

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         7.    Instead of allowing the incumbents the opportunity to appeal to their

districts’ increasingly diverse electorate, the Legislature, which is dominated by

white Republicans, redrew these districts to make them safer for white Republican

incumbents. Race was used as the means for achieving this partisan end.

         8.    The Legislature manipulated Districts 105 and 111 with surgical

precision, splitting precincts to cut out census blocks with higher percentages of

African-American Democratic voters and moving in census blocks with higher

percentages of white Republican voters.

         9.    Since Georgia maintains voter registration by race but not by party,

and because the Legislature split voting precincts and divided districts by census

blocks, the proponents of H.B. 566 necessarily used race when redrawing the

boundary lines of Districts 105 and 111.

         10.   H.B. 566 moves pockets of white and minority voters between

Georgia House districts, thereby minimizing minority voting strength and making

competitive districts safer for white voters’ candidates of choice.

         11.   H.B. 566 unnecessarily fences many African-American voters out of

Districts 105 and 111, which retain a smaller number of African-American voters.

H.B. 566 does this for the purpose of impairing the ability of both groups of

African-American citizens to elect representatives who share their political views,

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based on the perceived content of their political speech and political associations.

         12.   The racial gerrymander of H.B. 566 has already proven to be very

effective, by shifting enough voters to allow white Republican incumbents to

prevail over African-American Democratic challengers in Districts 105 and 111 in

hotly contested elections held on November 8, 2016.

         13.   H.B. 566 is a “mid-census cycle redistricting plan.” Unlike

redistricting plans adopted when new census data is released every ten years to

comply with the United States Constitution’s “one person, one vote” requirement,

there was no legitimate reason for the legislature to enact a new redistricting plan

for the Georgia House of Representatives, which it had done just a few years

earlier in light of the 2010 census. Under the circumstances, the only rational

explanation is that the General Assembly intended to racially gerrymander

Districts 105 and 111 for partisan purposes.

         14.   For these reasons, and as further alleged in detail below, Plaintiffs

respectfully pray for this Court to issue relief by issuing a declaratory

judgment that H.B. 566 is unlawful, insofar as it redistricts House Districts

105 and 111, and to return those districts to the status quo as it existed during

the 2012 and 2014 election cycles.




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                             JURISDICTION AND VENUE

         15.     This Court has jurisdiction of this action pursuant to (1) 28 U.S.C. §

1343(a), because this action seeks to redress the deprivation, under color of state

law, of rights, privileges and immunities secured by the Voting Rights Act; and (2)

42 U.S.C. § 1983 and 28 U.S.C. 1331, because this action arises under the

Fourteenth and Fifteenth Amendments to the United States Constitution.

         16.     This Court has jurisdiction to grant both declaratory and injunctive

relief, pursuant to 28 U.S.C. §§ 2201 and 2202.

         17.     This Court has personal jurisdiction over the State of Georgia and the

individual Defendant, who is a citizen of the State of Georgia and resides within

this District.

         18.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2),

because a substantial part of the events or omissions giving rise to the claim

occurred in this District.

         19.     This case must be heard and determined by a district court of three

judges pursuant to 28 U.S.C. § 2284.

                                      THE PARTIES

                                       The Plaintiffs

         20.     Plaintiff GEORGIA STATE CONFERENCE OF THE NAACP

(“Georgia NAACP”) is a non-partisan, interracial, nonprofit membership


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organization that was founded in 1941. Its mission is to eliminate racial

discrimination through democratic processes and ensure the equal political,

educational, social, and economic rights of all persons, in particular African-

Americans. It is headquartered in Atlanta and currently has approximately 10,000

members. The Georgia NAACP’s membership includes African-American voters

who reside in Georgia House Districts 105 and 111. Its membership includes

African-American voters who were displaced from those districts by H.B. 566, and

African-American voters who remain in those districts after its enactment. These

members have suffered harm because they no longer live in a district in which they

have an equal opportunity to elect a candidate of choice to the Georgia House of

Representatives. These members were subjected to race- and partisan-based

redistricting in violation of their constitutional rights.

         21.   Plaintiff LAVELLE LEMON is an African-American resident and

Democratic registered voter of Georgia. She resides within Georgia House of

Representatives District 111 in Henry County. Due to the passage of H.B. 566,

Plaintiff Lemon did not have an equal opportunity to elect a candidate of choice in

District 111 in the November 2016 election, and she will not have an equal

opportunity to do so in the 2018 and 2020 election cycles. Plaintiff Lemon is

further injured by the race- and partisan-based redistricting of House District 111

perpetrated by H.B. 566.


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         22.   Plaintiff MARLON REID is an African-American resident and

Democratic registered voter of Georgia. He resides within Georgia House of

Representatives District 105 in Gwinnett County. Due to the passage of H.B. 566,

Plaintiff Reid did not have an equal opportunity to elect a candidate of choice in

District 105 in the November 2016 election, and he will not have an equal

opportunity to do so in the 2018 and 2020 election cycles. Plaintiff Reid is further

injured by the race- and partisan-based redistricting of House District 105

perpetrated by H.B. 566.

         23.   Plaintiff LAURETHA CELESTE SIMS is an African-American

resident and Democratic registered voter of Georgia. She resides within Georgia

House of Representatives District 111 in Henry County. Due to the passage of

H.B. 566, Plaintiff Sims did not have an equal opportunity to elect a candidate of

choice in District 111 in the November 2016 election, and she will not have an

equal opportunity to do so in the 2018 and 2020 election cycles. Plaintiff Sims is

further injured by the race- and partisan-based redistricting of House District 111

perpetrated by H.B. 566.

         24.   Plaintiff PATRICIA SMITH is an African-American resident and

Democratic registered voter of Georgia. She resides within Georgia House of

Representatives District 105 in Gwinnett County. Due to the passage of H.B. 566,

Plaintiff Smith did not have an equal opportunity to elect a candidate of choice in


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District 105 in the November 2016 election, and she will not have an equal

opportunity to do so in the 2018 and 2020 election cycles. Plaintiff Smith is

further injured by the race-and partisan-based redistricting of House District 105

perpetrated by H.B. 566.

         25.   Plaintiff COLEY TYSON is an African-American resident and

Democratic registered voter of Georgia. He resides within Georgia House of

Representatives District 105 in Gwinnett County. Due to the passage of H.B. 566,

Plaintiff Tyson did not have an equal opportunity to elect a candidate of choice in

District 105 in the November 2016 election, and he will not have an equal

opportunity to do so in the 2018 and 2020 election cycles. Plaintiff Tyson is

further injured by the race- and partisan-based redistricting of House District 105

perpetrated by H.B. 566.

                                  The Defendants

         26.   Defendant STATE OF GEORGIA is a sovereign state in the United

States.

         27.   Defendant BRIAN KEMP is sued in his official capacity as Secretary

of State of Georgia. Defendant KEMP is the State of Georgia’s chief election

officer and as such is responsible is responsible for overseeing the conduct of its

elections.




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                           FACTS AND BACKGROUND

         28.   The Georgia House of Representatives is composed of 180 members.

Each representative is elected from a single-member district.

         29.   The Georgia state legislative districts are typically redrawn after each

census.

         30.   Jurisdictions that undergo demographic changes traditionally adopt a

new redistricting plan every ten years, so as to comply with the United States

Constitution’s “one person, one vote” requirement when new decennial census data

is released.

         31.   Georgia state legislative elections are partisan. Primary and general

elections feature a majority vote requirement. If no candidate receives a majority

of the votes cast, a runoff election is held between the top two candidates. This

makes it more difficult for African-American, Latino, and Asian-American voters

to elect candidates of choice because they comprise a minority of the electorate.

         32.   There is a long—and well documented—history of voting

discrimination against minority voters, especially African-Americans, in Georgia.

Indeed, the Northern District of Georgia has recently acknowledged “Georgia’s

long history of discrimination” in this area. Georgia State Conference of the

NAACP v. Fayette County Bd. of Comm’rs, 950 F. Supp. 2d 1294, 1314-16 (N.D.

Ga. 2013) (citing Brooks v. State Bd. of Elections, 848 F. Supp. 1548, 1560–61,


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1571 (S.D. Ga. 1994) (stating that Georgia’s “segregation practice and laws at all

levels has been rehashed so many times that the Court can all but take judicial

notice thereof”)), vacated and remanded on other grounds, 775 F.3d 1336 (11th

Cir. 2015); see also Johnson v. Miller, 864 F. Supp. 1354, 1379-80 (S.D. Ga.

1994), aff'd and remanded, 515 U.S. 900 (1995) (noting that “we have given

formal judicial notice of the State’s past discrimination in voting, and have

acknowledged it in the recent cases”).

         33.   The history of voting discrimination against minority voters in

Georgia between 1982 and 2006 is further detailed in various reports produced

during the 2006 reauthorization of the Voting Rights Act. See Am. Civil Liberties

Union, The Case for Extending and Amending the Voting Rights Act 108-479,

available at https://www.aclu.org/files/pdfs/votingrightsreport20060307.pdf;

RenewtheVRA.org, Voting Rights in Georgia 1982-2000, available at

http://www.protectcivilrights.org/pdf/voting/GeorgiaVRA.pdf. Additional

evidence of voting discrimination can be found in various academic articles and

books. See, e.g., Laughlin McDonald et al., Georgia, in QUIET REVOLUTION IN THE

SOUTH: THE IMPACT OF THE VOTING RIGHTS ACT 1965-1990 67-102 (Chandler

Davidson & Bernard Grofman eds., 1994).

         34.   The historical background of Georgia House redistricting includes the

enactment of several plans in violation of the federal Voting Rights Act or the


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Constitution. See, e.g., Georgia v. United States, 411 U.S. 526 (1973) (finding a

violation of Section 5 of the Voting Rights Act); Busbee v. Smith, 549 F. Supp.

494, 517 (D.D.C. 1982), aff'd mem., 459 U.S. 1116 (1983) (finding discriminatory

purpose); Miller v. Johnson, 515 U.S. 900, 917 (1995) (finding racial

gerrymandering); Abrams v. Johnson, 521 U.S. 74, 107 (1997) (same); Larios v.

Cox, 300 F. Supp. 2d 1320, 1356 (N.D. Ga.), aff'd, 542 U.S. 947 (2004) (finding

that the redistricting plan violated one person, one vote principle); Georgia v.

Ashcroft, 539 U.S. 461, 486 (2003) (noting that redistricting plan made it more

difficult for minority voters to elect a candidate of their choice).

         35.   One result of the Georgia legislature’s redistricting efforts is that

minorities have historically been and continue to be underrepresented in the

Georgia House of Representatives. According to the 2015 American Community

Survey, approximately 62.8 percent of Georgia’s citizen voting age population is

white, 31.6 percent is African-American, 4.4 percent is Latino, and 2.6 percent is

Asian-American. Citizen Voting-Age Population: Georgia, U.S. CENSUS BUREAU

(2015), available at

https://www.census.gov/content/dam/Census/library/visualizations/2016/comm/citi

zen_voting_age_pop/cb160-tps148_georgia.pdf.




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         36.   By contrast, of the 180 members of the Georgia House of

Representatives, 131 (72.8%) are white, 46 (25.6%) are African-American, 2

(1.1%) are Latino, and one (0.6%) is Asian-American.

         37.   Moreover, race and party are highly correlated in Georgia and have

been for decades. For example, there are currently 119 Republicans in the Georgia

House of Representatives, of whom 118 (99.2%) are white and one (0.8%) is

Hispanic. There are no African-American Republicans in the Georgia House. By

contrast, there are currently 61 Democrats in the Georgia House, of whom 46

(75.4%) are African-American, 13 (21.3%) are white, one (1.6%) is Asian-

American, and one (1.6%) is Hispanic.

         38.   The Georgia legislature has repeatedly sought to amend the post-2010

redistricting plan for the Georgia House of Representatives even though there is no

legal or other legitimate reason for it to do so.

         39.   The Georgia legislature enacted Act No. 1EX (2011), its first post-

2010 Census redistricting plan for the House of Representatives, in August 2011.

Act No. 1EX (2011) was adopted by both the Georgia House of Representatives

and the Georgia Senate after little debate in a largely party-line vote and was

opposed by the overwhelming majority of the state’s African-American and other

minority legislators.




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         40.   Before the 2011 House of Representatives’ plan codified in Act No.

1EX (2011) was ever implemented, the Georgia legislature amended it by enacting

Act No. 277 (S.B. 513) (2012) in February 2012. Act No. 277 amended 15

districts, which encompass 19 different counties. Act No. 277 was adopted by

both the Georgia House of Representatives and the Georgia Senate after little

debate in a largely party-line vote and was opposed by the overwhelming majority

of the state’s African-American and other minority legislators.

         41.   The redistricting plans codified in Act No. 1EX (2011) and Act No.

277 (2012) were precleared by the United States Department of Justice.

         42.   The Georgia legislature enacted H.B. 566, its third post-2010 Census

redistricting plan for the House of Representatives, in May 2015.

         43.   H.B. 566 amended 17 districts, which encompass Atkinson, Bryan,

Butts, Cobb, Chatham, Clayton, Fayette, Fulton, Gwinnett, Hall, Henry, Lamar,

Lanier, Lowndes, Newton, Rockdale, Spalding, Ware, and White Counties.

         44.   H.B. 566 was adopted by both the Georgia House of Representatives

and the Georgia Senate after little debate. In fact, minority and Democratic

legislators in the House of Representatives were initially given no indication that

the changes contained the bill were anything other than innocuous and minor.

         45.   Once H.B. 566 reached the Senate and minority legislators discovered

the nature of several of the changes, Senator Vincent Fort, who is African-


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American, criticized the changes to Districts 105 and 111 as racial gerrymanders.

Representative Randy Nix, who is white and chaired the House Reapportionment

Committee at the time, responded only that lawmakers had the opportunity to

approach him with changes they wanted to make to their districts. Sandra Parrish,

Democrats Call on Governor to Veto Redistricting Bill, WSB RADIO, May 1, 2015,

available at http://www.wsbradio.com/news/democrats-call-governor-veto-

redistricting-bill/KBHnfw7ZK6VDvSXw8MiplM/.

         46.   Representative Nix argued that the bill made no significant changes to

any of the districts and that all of the lawmakers whose districts were affected had

agreed to the changes. David Wickert, Gwinnett House district gets voting rights

scrutiny, THE ATLANTA JOURNAL-CONSTITUTION, Sept. 21, 2016, available at

http://www.myajc.com/news/localgovtpolitics/gwinnetthousedistrictgetsvotingrigh

tsscrutiny/yUlarJWHWlawwAed9nM5uN/.

         47.   The Senate passed the measure by a narrower and largely party-line

39-14 margin after minority legislators became aware of and started raising

concerns about potential voting rights violations. Id. H.B. 566 was opposed by the

state’s African-American senators.

         48.   The Georgia Legislature’s adoption of H.B. 566 included departures

from the normal procedural sequence. It also included substantive departures from

the factors usually considered by the Legislature in redistricting.


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         49.   During the 2015 legislative session, African American legislators

serving on the House Legislative and Congressional Reapportionment and the

Senate Reapportionment and Redistricting Committees (“House and Senate

Redistricting Committees”) were excluded from the process of drawing and

negotiating the plans codified in H.B. 566.

         50.   During the 2015 legislative session, minority residents of Georgia

were denied the opportunity to analyze and comment on the plans enacted in H.B.

566. The House and Senate Redistricting Committees did not hold any public

hearings or allow public comment on the plans prior to voting on them.

         51.   Despite the growth of the minority population in Georgia since 2010,

H.B. 566 reduces the number of districts in which minority voters have an equal

opportunity to elect candidates of choice. Minority voters have therefore lost

voting strength.

         52.   H.B. 566 uses race as the predominant factor to allocate African-

American and other minority voters into and out of House Districts 105 and 111.

The changes to these districts reduce the ability of African-American and other

minority voters to elect a candidate of choice to the Georgia House.

         53.   Not satisfied with these efforts, in 2017 the legislature attempted to

enact H.B. 515, which would have decreased the African-American population in

District 111 again, as well as in District 40. H.B. 515 would have been the fourth


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post-2010 Census redistricting plan for the House of Representatives. This

proposed legislation was ultimately tabled in the face of a backlash from African-

American, Democratic legislators, as well as hostile articles in the news media.

See, e.g., Mark Joseph Stern, Georgia Republicans Pass Racial Gerrymander to

Kick Black Voters Out of GOP Districts, SLATE, March 7, 2017, available at

http://www.slate.com/blogs/the_slatest/2017/03/07/georgia_republicans_pass_raci

al_gerrymander.html.

                     Changes to House District 105 by H.B. 566

         54.   House District 105 elections in the 2012 and 2014 election cycles

were conducted under the boundaries enacted by the legislature in Act No. 277.

         55.   Under those boundaries, 48.4 percent of District 105’s voting age

population were white, 32.4 percent were African-American, 12.6 percent were

Latino, and 4.6 percent were Asian. The combined minority voting age population

was 51.6 percent.

         56.   In the November 2012 general election, Joyce Chandler received

10,561 votes and Renita Hamilton received 10,007 votes. The margin of victory

was 554 votes, or 2.7 percentage points.

         57.   Representative Chandler is white and a Republican. Ms. Hamilton is

African-American and a Democrat.




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         58.         In the November 2014 general election, Representative Chandler

defeated Renita Hamilton by 789 votes, or 5.6 percentage points. Representative

Chandler received 7,497 votes and Ms. Hamilton received 6,708 votes.

         59.         The voting patterns in the November 2012 and November 2014

elections in House District 105 were racially polarized.

         60.         H.B. 566 amended House District 105 by moving out part of Precinct

Lawrenceville M, and moving in all of Precinct Harbins C and part of Harbins A.

         Table 1 – House District 105 Voting Age Population (2010 Census)

                                2012 plan      Current plan       Change
   White alone, not           17,712   48.4%   19,204   52.7% +1,492   +4.3%
  Hispanic or Latino
  African-American
alone, not Hispanic or        11,841   32.4%   11,071   30.4%   -770   -2.0%
        Latino
   Hispanic/Latino            4,612    12.6%   3,945    10.8%   -667   -1.8%
        Other                 2,415     6.6%   2,229     6.1%   -186   -0.5%
             Total            36,580           36,449           -131

         61.         As redrawn by H.B. 566, 52.7 percent of District 105’s voting age

population are white, 30.4 percent are African-American, 10.8 percent are Latino,

and 4.2 percent are Asian. The combined minority voting age population is 47.3

percent.

         62.         H.B. 566 increased the white voting age population of House District

105 by 4.3 percentage points. It decreased the African-American voting age




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population by 2.0 percentage points, and it decreased the combined minority voting

age population by 4.3 percentage points.

         63.   The November 2016 House District 105 election was conducted under

the district boundaries codified in H.B. 566.

         64.   In the November 2016 general election, Representative Chandler

defeated Donna McLeod by 222 votes, or 0.9 percentage points. Representative

Chandler received 12,411 votes and Ms. McLeod received 12,189 votes. The

margin was so close that the race went to a recount. Curt Yeomans, Rep. Joyce

Chandler wins recount in House District 105 race, THE GWINNETT DAILY POST,

Sept. 21, 2016, available at http://www.gwinnettdailypost.com/local/rep-joyce-

chandler-wins-recount-in-house-district-race/article_52ac6b29-6157-595b-8f16-

8da2129e1ad5.html.

         65.   Donna McLeod is African-American and a Democrat.

         66.   Voting in the November 2016 election in House District 105 was

racially polarized.

         67.   If the November 2016 general election had been conducted under the

district boundaries that had been employed in the 2012 and 2014 election cycles,

Ms. McLeod would likely have defeated Representative Chandler.




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                     Changes to House District 111 by H.B. 566

         68.   Georgia House District 111 elections in the 2012 and 2014 election

cycles were conducted under the district boundaries enacted in Act No. 277.

         69.   Under those district boundaries, 56.1 percent of District 111’s voting

age population were white, 33.2 percent were African-American, 5.6 percent were

Latino, and 3.3 percent were Asian. The combined minority voting age population

is 43.9 percent.

         70.   In the November 2012 general election, Brian Strickland received

13,172 votes and Bill Blackmon received 11,695 votes. The margin of victory was

1,477 votes or 5.9 percentage points.

         71.   Representative Strickland is white and a Republican. Mr. Blackmon

is African American and a Democrat.

         72.   In the November 2014 general election, Representative Strickland

received 9,540 votes and Jim Nichols received 8,416 votes. The margin of victory

was 1,124 votes, or 6.3 percentage points.

         73.   Mr. Nichols is white and a Democrat.

         74.   The voting patterns in the November 2012 and November 2014

elections in House District 111 were racially polarized.




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         75.     H.B. 566 amended House District 111 by removing precincts and

census blocks that are predominantly populated by minority voters, and inserting

precincts and census blocks that are predominantly populated by white voters.

         76.     H.B. 566 split Precinct Henry 32 – Mount Caramel. Some of the

census blocks remained in District 111, while others were moved out.

         77.     As redrawn by H.B. 566, 58.1 percent of District 105’s voting age

population are white, 31.0 percent are African-American, 5.2 percent are Latino,

and 3.7 percent are Asian. The combined minority voting age population was 41.9

percent.

         Table 2 – House District 111 Voting Age Population (2010 Census)

                          2012 plan       H.B. 566          HB 515        Total Change
 White alone, not      21,638   56.1% 22,228 58.1%       22,847   59.6% +1,209 +3.4%
Hispanic or Latino
African-American
alone, not Hispanic    12,798   33.2% 11,852 31.0%       11,496   30.0%   -1,302   -3.2%
     or Latino
       Other            4,109   10.7%   4,155    10.9%   4,014    10.5%    -95     -0.2%
         Total         38,545           38,235           38,357           -188

         78.     According to the 2010 Census, H.B. 566 increased the white voting

age population of House District 111 by 2.0 percentage points. It decreased the

African-American voting age population by 2.2 percentage points.

         79.     The November 2016 House District 105 election was conducted under

the district boundaries codified in H.B. 566.


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         80.   In the November 2016 general election, Representative Strickland

received 14,488 votes and Darry Payton received 13,542 votes. The margin of

victory was 946 votes, or 3.4 percentage points.

         81.   Darryl Payton is African-American and a Democrat.

         82.   Voting in the November 2016 election in House District 105 was

racially polarized.

         83.   If the November 2016 general election had been conducted under the

district boundaries that had been employed in the 2012 election cycle, Mr. Payton

may have defeated Representative Strickland.

               Demographic Changes in Counties Affected by H.B. 566

         84.   Recent demographic changes have taken place in the areas redistricted

by H.B. 566, as demonstrated by a comparison of data from the 2010 U.S. Census

and the 2015 American Community Survey.

         85.   In Gwinnett County, the non-Hispanic African-American population

percentage increased from 22.9 percent in 2010 to 24.7 percent in 2015. The Asian

population also rose from 10.5 to 11.0 percent in that span. The Hispanic

population increased from 20.1 to 20.3 percent and the non-Hispanic white

population declined from 79.9 percent to 79.7.

         86.   In Henry County, the non-Hispanic African-American population

increased from 36.3 to 38.4 percent between 2010 and 2015. The Hispanic


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population increased from 5.8 to 6.3 percent and the non-Hispanic white

population dropped from 52.5 to 49.5 percent during that period.

                                COUNT ONE:
(52 U.S.C. § 10301 and 42 U.S.C. § 1983 - Discriminatory Purpose in Violation
of the Fourteenth Amendment to the United States Constitution and Section 2
               of the Voting Rights Act, Against all Defendants)

         87.   Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 86 above, as if fully set forth herein.

         88.   42 U.S.C. § 1983 authorizes suits for the deprivation of a right

secured by the Constitution or the laws of the United States caused by a person

acting under the color of state law.

         89.   Section 1 of the Fourteenth Amendment to the United States

Constitution provides that:

         No state shall make or enforce any law which shall abridge the privileges or
         immunities of citizens of the United States; nor shall any state deprive any
         person of life, liberty, or property, without due process of law; nor deny to
         any person within its jurisdiction the equal protection of the laws.

         90.   Section 2 of the Voting Rights Act of 1965 prohibits the imposition of

any voting standard, practice, or procedure enacted with a discriminatory purpose.

52 U.S.C. § 10301(a).

         91.   There is no legitimate, non-racial reason for the mid-census cycle

changes to Georgia House Districts 105 and 111 in H.B. 566.




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         92.   H.B. 566 was adopted, at least in part, for the purpose of

disadvantaging African-American and other minority voters relative to white

voters in those districts. From the outset, Defendants intended to reduce the

number of minority voters and increase the number of white voters to reduce

minority voting strength and prevent them from being able to elect a candidate of

choice to the Georgia House in the 2018 and 2020 election cycles.

         93.   Several of the indicia of discriminatory purpose are present in this

case. There is evidence of substantial disparate impact, a history of discriminatory

official actions, procedural and substantive departures from the norms generally

followed by the decision-maker, and the legislative and administrative history of

the decision, including contemporaneous statements by decision makers. In

Districts 105 and 111, minority-preferred candidates were on the verge of

achieving success due to demographic changes and increasing voter participation.

Defendants “moved the goal posts” by enacting a mid-census cycle redistricting

plan that make those districts noncompetitive. Statements and communications

from key decision makers indicate that they were aware that H.B. 566 would have

an effect on the ability of minority voters to elect a candidate of choice to the

Georgia House in the context of racially polarized voting. Legislators provided

virtually no notice of the proposed changes, sought to minimize or eliminate public




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comment, and expedited the legislative process in ways intended to reduce input

from anyone other than its main proponents.

         94.   By engaging in the acts and omissions alleged herein, Defendants

acted and continue to act under color of law to deny the Plaintiffs rights guaranteed

to them by the Fourteenth Amendment to the U.S. Constitution and Section 2 of

the Voting Rights Act, and will continue to violate those rights absent relief

granted by this Court.

                              COUNT TWO:
 (42 U.S.C. § 1983 – Racial Gerrymander in Violation of the Fourteenth and
 Fifteenth Amendments to the United States Constitution, Against Defendant
                                  Kemp)

         95.   Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 94 above, as if fully set forth herein.

         96.   Race predominated with respect to the redistricting in H.B. 566 of

Georgia House Districts 105 and 111, where pockets of voters were spirited in and

out for the purpose of minimizing the opportunity of minority voters to participate

effectively in the political process and for the purpose of capping African

American and other minority representation and influence in the Georgia House of

Representatives.

         97.   The predominance of Defendants’ racial purpose is laid bare by their

reduction of the African-American population and registered voter percentage in

District 105 and 111 after an African-American candidate for the Georgia House
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nearly defeated the white incumbent. In this context, the reduction of the African-

American population percentage constitutes “persuasive circumstantial evidence

that race for its own sake, and not other districting principles, was the legislature's

dominant and controlling rationale.” Bethune-Hill v. Virginia State Bd. of Elecs.,

137 S.Ct. 788, 798 (Mar. 1, 2017) (quoting Miller v. Johnson, 515 U.S. 900, 913

(1995)).

         98.   The November 2016 contests in House Districts 105 and 111

demonstrate that the Legislature’s efforts have been successful.

         99.   The racial gerrymandering of House Districts 105 and 111 by H.B.

566 violate the rights of Plaintiffs guaranteed to them by the Fourteenth and

Fifteenth Amendment to the U.S. Constitution. Gomillion v. Lightfoot, 364 U.S.

339 (1960).

         100. By engaging in the acts and omissions alleged herein, Defendants

acted and continue to act under color of law to deny the Plaintiffs rights guaranteed

to them by the Fourteenth and Fifteenth Amendments to the U.S. Constitution, and

will continue to violate those rights absent relief granted by this Court.

                                COUNT THREE:
    (42 U.S.C. § 1983 – Partisan Gerrymander in Violation of the Fourteenth
    Amendment to the United States Constitution, Against Defendant Kemp)

         101. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 100 above, as if fully set forth herein.


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         102. A redistricting plan constitutes an unconstitutional partisan

gerrymander if political classifications “were applied in an invidious manner or in

a way unrelated to any legitimate legislative objective.” Vieth v. Jubelirer, 541

U.S. 267, 307 (Kennedy, J., concurring in the judgment). In LULAC v. Perry, 548

U.S. 399 (2006), a majority of the Justices expressed interest in a test for

unconstitutional partisan gerrymandering under the Fourteenth Amendment. 548

U.S. at 420 (Kennedy, J.), 466 (Stevens, J., concurring in part and dissenting in

part), and 483 (Souter, J., concurring in part and dissenting in part). Lower courts

have recently held that a redistricting plan is a partisan gerrymander in violation of

the Fourteenth Amendment if it “(1) is intended to place a severe impediment on

the effectiveness of the votes of individual citizens on the basis of their political

affiliation, (2) has that effect, and (3) cannot be justified on other, legitimate

legislative grounds.” Whitford v. Gill, No. 15-cv-421-bbc, 2016 WL 6837229 at

*35 (W.D. Wis. Nov. 21, 2016). That test is satisfied here.

         103. The redistricting of Districts 105 and 111 in H.B. 566 is a partisan

gerrymander that violates Plaintiffs’ Fourteenth Amendment right to equal

protection of the laws. H.B. 566 intentionally and surgically removes Democratic

voters from these districts for the purpose of making them noncompetitive and

ensuring electoral victory for their Republican incumbents. There was no

legitimate legislative reason for passing this mid-decade redistricting plan,


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particularly when a plan that complied with the U.S. Constitution and the Voting

Rights Act had been enacted a few years beforehand.

         104. Partisan affiliation and race are highly correlated in Georgia.

         105. The proponents of H.B. 566 utilized racial demographics and analyses

of past elections to predict the level of support for Democratic candidates and,

based on the perceived content of voters’ political speech, drew Georgia House

districts for the purpose of minimizing the electoral strength of voters who seek to

be represented by Democratic legislators.

         106. By engaging in the acts and omissions alleged herein, Defendants

acted and continue to act under color of law to deny the Plaintiffs rights guaranteed

to them by the Fourteenth Amendment to the U.S. Constitution, and will continue

to violate those rights absent relief granted by this Court.

                               PRAYER FOR RELIEF

         WHEREFORE, the Plaintiffs respectfully pray that the Court:

         a.    Assume jurisdiction of this action and request a three-judge panel

pursuant to 28 U.S.C. § 2284;

         b.    Declare that H.B. 566, insofar as it redistricts Georgia House Districts

105 and 111, violates the Fourteenth and Fifteenth Amendments to the United

States Constitution and Section 2 of the Voting Rights Act;




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         c.   Enjoin Defendants, their agents and successors in office, and all

persons acting in concert with, or as an agent of, any Defendants in this action,

from administering, implementing, or conducting any future elections in Georgia

House Districts 105 and 111 under the current district boundaries as codified in

H.B. 566;

         d.   Issue an order requiring Georgia to preclear voting changes during the

following ten-year period pursuant to 52 U.S.C. § 10302;

         e.   Set a reasonable deadline for state authorities to enact or adopt a

redistricting plan for the Georgia House of Representatives that remedies the

statutory and constitutional violations with respect to Districts 105 and 111;

         f.   If state authorities fail to enact or adopt a valid plan by the Court’s

deadline, order the implementation of a new redistricting plan remedying the

aforementioned violations by returning Districts 105 and 111 to their pre-H.B. 566

configurations, and making necessary changes to adjoining districts;

         g.   Retain jurisdiction to render any and all further orders that this Court

may deem necessary;

         h.   Award plaintiffs their reasonable attorneys’ fees, pursuant to statute,

and the costs and disbursements of maintaining this action, such as expert fees; and

         i.   Order such additional relief as the interests of justice may require.




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Dated: April 24, 2017         Respectfully submitted,



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